 

Case: 1:08-cr-Q@846 Document #: 1 Filed: 10/16/08 Page 1 of 7 PagelD #:1

UNITED STATES DISTRICT COURT 7 SOAN H. LEFKOW

NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION MAGISTRATE JUDGE ASHMAN

O8tR 846.

Violations: Title 18, United
States Code, Sections 1512(c)(2) and 1621(1)
UNDER SEAL

COUNT ONE EF i L FE D
The SPECIAL FEBRUARY 2008-2 GRAND JURY charges: OCT 1 § 2008 T C
1. At times material to this indictment: | i O- i 4 -OF .

MICRKAEL W. DCOBGINS
a. During the period from approximately 1970 to approxi Manne Yh. BLT RGT COURT

UNITED STATES OF AMERICA

¥v.

Semme  ee me Nee”e”

JON BURGE

JON BURGE was a Chicago Police Officer.

b, The Chicago Police Department assigned its detectives to different geographi-
cal divisions known as “Areas,” which were based at different police stations.

c, Area Two was located on the south side of Chicago. Until approximately
1983, it was located at 9059 S, Cottage Grove Ave. in Chicago. Since 1983, it has been located at
727 E. 111th Street in Chicago.

d. From approximately 1972 to 1974, defendant JON BURGE worked as a
detective assigned to Area Two. From approximately 1977 to 1980, JON BURGE held the rank of
sergeant and was assigned to Area Two. From approximately 1981 to 1986, JON BURGE held the
rank of Police Lieutenant, and was assigned as the supervisor of detectives assigned to the Violent
Crimes Unit in Area Two.

2. At all times material to the indictment, federal law (including the United States

Constitution as well as various federal statutes), Illinois law (including the Hlinois constitution), and

 
Case: 1:08-cr-00846 Document #: 1 Filed: 10/16/08 Page 2 of 7 PagelD #:1

Chicago police regulations prohibited torture, physical abuse, and other use of excessive force by
police officers.

3. During the time that defendant JON BURGE was assigned to Area Two, JON
BURGE was present for, and at times participated in, the torture and physical abuse of a person
being questioned on one or more occasions. In addition, during the time he worked as the lieutenant
supervising Area Two Violent Crimes detectives, JON BURGE was aware that detectives he was
supervising engaged in torture and physical abuse of a person being questioned on one or more
occasions.

4. After 1991, a series of civil lawsuits were filed in Chicago alleging that defendant
JON BURGE and other police officers who were or had been under his command participated in acts
of torture and physical abuse of people in custody.

S. One of those lawsuits, filed in 2003, in the United States District Court in Chicago,
was entitled Hobley v. Jon Burge, et al., No. 03 C 3678. The lawsuit included allegations that
Madison Hobley had been tortured and abused by police officers at Area Two in January 1987 in
order to coerce a confession, including an allegation that police officers had placed a plastic bag over
Hobley’s head until Hobley lost consciousness. The lawsuit claimed that defendant JON BURGE
was aware of a pattern of torture and abuse at Area Two.

6. As part of civil discovery inthe Hobley case, written interrogatories were served upon
defendant JON BURGE. It was material to the outcome of the civil lawsuit whether in fact JON

BURGE knew of or participated in torture and physical abuse of persons in Chicago Police

Department custody. JON BURGE provided written answers to the interrogatories.

 
Case: 1:08-cr-00846 Document #: 1 Filed: 10/16/08 Page 3 of 7 PagelD #:1

7. Onor about November 12, 2003, defendant JON BURGE submitted “Defendant Jon
Burge’s Answers to Plaintiffs’ [sic] First Set of Interrogatories,” which included certain answers, to
wit:

QUESTION #13: State whether you have ever used methods, procedures
or techniques involving any form of verbal or physical coercion of suspects while in
detention or during interrogation, such as deprivation of sleep, quiet, food, drink,
bathroom facilities, or contact with legal counsel and/or family members; the use of
verbal and/or physical threats or intimidation, physical beatings, or hangings; the use
of racial slurs or profanity; the use of physical restraints, such as handcuffs; the use
of photographs or polygraph testing; and the use of physical objects to inflict pain,
suffering or fear, such as firearms, telephone books, typewriter covers, radiators, or
machines that deliver an electric shock. For each such use of verbal or physical
coercion identify the detainee(s) and/or suspects(s), any other officers or individuals
involved, the date of the incident, the specific conduct in which you or any other
officer engaged, and whether you or any other officer was the subject of any
complaint or discipline as a result of said conduct.

ANSWER: Defendant objects to Interrogatory no. 13 because said
question is overly broad, unduly vague, ambiguous and calls
for a legal conclusion. Subject to and without waiving said
objection, / have never used any techniques set forth above as
a means of improper coercion of suspects while in detention
or during interrogation.

QUESTION # 14: State whether you were aware of any Chicago Police
Officer, including but not limited to officers under your command, ever using
methods, procedures or techniques involving any form of verbal or physical coercion
of suspects while in detention or during interrogation, such as deprivation of sleep,
quiet, food, drink, bathroom facilities, or contact with legal counsel and/or family
members; the use of verbal and/or physical threats or intimidation, physical beatings,
or hanging; the use of racial slurs or profanity; the use of physical restraints, such as
handcuffs, the use of photographs or polygraph testing; and the use of physical
objects to inflict pain, suffering or fear, such as firearms, telephone books, typewriter
covers, radiators, or machines that deliver an electric shock. For each such use of
verbal or physical coercion of which you were aware identify the detainees(s) and/or —
suspect(s), any other officers or individuals involved, the date of the incident, the
specific conduct in which you or any other officer engaged, and whether you or any
other officer was the subject of any complaint.

 

 
 

Case: 1:08-cr-00846 Document #: 1 Filed: 10/16/08 Page 4 of 7 PagelD #:1

ANSWER: Defendant objects to Interrogatory no. 14 because said
question is overly broad, unduly vague, ambiguous and calls
for a legal conclusion. Subject to and without waiving said
objection, [ am not aware of any.
8. The italicized portion of these answers were false, for in truth and fact, as defendant
JON BURGE then and there well knew, he had participated in one or more incidents of physical
coercion of suspects while the suspects were in detention and/or were being interrogated, and was
aware of one or more other such events involving the abuse or torture of people in custody.
9, On or about November 12, 2003, at Chicago, in the Northern District of Illinois,
Eastern Division, and elsewhere,
JON BURGE,
defendant herein, did corruptly obstruct, influence, and impede an official proceeding, and attempt
to do so, in that the defendant signed answers containing false statements mm response to interroga-

tories in the case of Hobley v. Jon Burge, et. al., case no. 03 C 3678, and caused them to be served

upon counsel for the plaintiff;

In violation of Title 18, United States Code, Section 1512(c)(2).

 
Case: 1:08-cr-00846 Document #: 1 Filed: 10/16/08 Page 5 of 7 PagelD #:1

COUNT TWO

The SPECIAL FEBRUARY 2008-2 GRAND JURY further charges:

l. The allegations of Paragraphs | through 6 of Count One of this indictment are hereby
realleged and incorporated herein as if fully set forth herein.

2. On or about November 25, 2003, defendant JON BURGE submitted “Defendant Jon
Burge’s Answers to Plaintiff's Second Set of Interrogatories,” which included certain answers, to
wit:

QUESTION # 3: Is the manner in which Madison Hobley claims he was
physically abused and/or tortured as described in Plaintiff's Complaint (including,

for example, the allegation of "bagging" with a typewriter cover) consistent with any

other examples of physical abuse and/or torture on the part of Chicago Police officers

at Area 2: which you observed or have knowledge of? Please explain your answer

and identify any other instances or examples of the same or similar physical abuse

and/or torture.

ANSWER IJ have not observed nor do I have knowledge of any other
examples of physical abuse and/or torture on the part of Chicago Police officers at

Area 2.

3. The italicized portion of this answer was false, for in truth and fact, as defendant JON
BURGE then and there well knew, he had observed, participated in, and had knowledge of one or
more other examples of physical abuse and torture on the part of Chicago police officers at Area
Two, including, but not limited to, abuse of a person by “bagging.”

4, On or about November 25, 2003, at Chicago, in the Northern District of Illinois,
Eastern Division, and elsewhere,

JON BURGE,

defendant herein, having taken an oath to testify truthfully before a competent officer, or person, in

acase in which a law of the United States authorizes an oath to be administered, subscribed to sworn

 

 
 

Case: 1:08-cr-00846 Document #: 1 Filed: 10/16/08 Page 6 of 7 PagelD #:1

answers to Plaintiff's Second Set of Interrogatories in Hobley v. Jon Burge, et. al., case no. 03 C
3678, and willfully and contrary to such oath stated and subscribed to the material matter set forth
above in his answer to Question 3 which he did not believe to be true, when in truth and fact, as
defendant JON BURGE then and there well knew, he had observed, participated in, and had
knowledge of one or more other examples of physical abuse and torture on the part of Chicago police

officers at Area Two, including, but not limited to, abuse of a person by “bagging”;

In violation of Title 18, United States Code, Section 1621(1).

 
Case: 1:08-cr-00846 Document #: 1 Filed:.10/16/08 Page 7 of 7 PagelD #:1

COUNT THREE

The SPECIAL FEBRUARY 2008-2 GRAND JURY further charges:

I. The allegations of Paragraphs | through 3 of Count Two of this indictment are hereby
realleged and incorporated herein as if fully set forth herein.

2. On or about November 25, 2003, at Chicago, in the Northern District of Illinois,
Eastern Division, and elsewhere,

JON BURGE,

defendant herein, did corruptly obstruct, influence, and impede an official proceeding, and attempt
to do so, in that the defendant signed answers containing false statements in response to interroga-
tories m the case of Hobley v. Jon Burge, et. al., case no. 03 C 3678, and caused them to be served
upon counsel for the plaintiff;

In violation of Title 18, United States Code, Section 1512(c)(2).

A TRUE BILL:

 

FOREPERSON

 

UNITED STATES ATTORNEY

 

 
